Case 3:16-md-02738-MAS-RLS Document 32118-1 Filed 04/29/24 Page 1 of 3 PageID:
                                 181378




                        EXHIBIT A
Case 3:16-md-02738-MAS-RLS Document 32118-1
                                    28729-3 Filed 04/29/24
                                                  11/27/23 Page 2 of 3 PageID:
                                 168137
                                 181379
                              List of Plaintiffs’ Experts

        Expert Name               Area of        Scope of Opinion         Motion Status
                                 Expertise
  Alan Campion, PhD           Ramon              General opinions    Deferred
                              Spectroscopy
  Arch Carson, MD, PhD        Occupational       General causation   Daubert motion denied
                              Medicine
  Daniel Clarke-Pearson, MD   Gynecologic    General and case- Daubert motion denied as
                              Oncology       specific causation to general causation;
                                                                motion has not yet been
                                                                filed regarding case-
                                                                specific causation
                                                                opinions
  Robert Cook, PhD          Geology          General opinions   Deferred
  Michelle Cote, PhD        Epidemiology     General causation  New expert; no motion yet
                                                                filed
  Michael Crowley, PhD      Chemistry        General opinions   Deferred
  John Godleski, MD         Pathology        Case-specific      Motion has not yet been
                                             opinions           filed regarding case-
                                                                specific opinions
  Bernard Harlow, PhD       Epidemiology     General causation  New experts; no motion
  Kenneth Rothman, DrPH                                         yet filed
  Sarah Kane, MD            Pathology        General causation  Daubert motion denied
  David Kessler, MD         Regulatory       General opinions   Deferred
  Mark Krekeler, PhD        Geology          General opinions   Deferred
  Shawn Levy, PhD           Genetics         Biologic           Daubert motion denied as
                                             plausibility and   to biologic plausibility
                                             case-specific      opinion; no motion yet
                                             opinions           filed regarding case-
                                                                specific opinions
  William E. Longo, PhD     Asbestos    and General opinions    Daubert motion denied as
  Mark W. Rigler, PhD       Talc       Fiber                    to TEM amphibole
                            Testing                             asbestos and fibrous talc
                                                                testing; no motion yet
                                                                filed as to chrysotile
                                                                asbestos testing or case-
                                                                specific exposure analyses
  Anne McTiernan, MD, PhD Epidemiology       General causation  Daubert motion denied
  Patricia Moorman, MSPH, Epidemiology       General Causation  Daubert motion denied
  PhD
  George Newman, PhD        Marketing        General opinions   New expert; no motion yet
                                                                filed
  Laura Plunkett, PhD, DABT Regulatory &     General opinions   Daubert motion denied as
                            Toxicology                          to biologic plausibility
                                                                opinions; motion
                                                                regarding regulatory
                                                                opinions deferred

                                             1
Case 3:16-md-02738-MAS-RLS Document 32118-1
                                    28729-3 Filed 04/29/24
                                                  11/27/23 Page 3 of 3 PageID:
                                 168138
                                 181380
                               List of Plaintiffs’ Experts

  Ghassan Saed, PhD            Cell Biology       General opinions    Daubert motion denied as
                                                                      to Dr. Saed’s in vitro
                                                                      study results and other
                                                                      aspects of his report but
                                                                      granted as to his opinion
                                                                      that his test results alone
                                                                      “demonstrated a link
                                                                      between use of talcum
                                                                      powder and ovarian
                                                                      cancer”
  William Sage, MD, JD         Regulatory         General opinions    No motion yet filed.
  Sonal Singh, MD, MPH         Epidemiology       General causation   Daubert motion denied
  Jack Siemiatycki, MSc, PhD   Epidemiology       General causation   Daubert motion denied
  Ellen Smith, MD              Gynecologic        General causation   Daubert motion denied
                               Oncology
  Rebecca Smith-Bindman,       Epidemiology       General causation   Daubert motion denied
  MD
  Judith Wolf, MD              Gynecologic        General and case- Daubert motion denied as
                               Oncology           specific causation to general causation;
                                                                     motion has not yet been
                                                                     filed regarding case-
                                                                     specific causation
                                                                     opinions
  Judith Zelikoff, PhD         Toxicology         General opinions   Daubert motion denied




                                              2
